vhs Dallas, TX 752013

Case 2:21-cV-03263-BMS Document 1° Filed 07/21/21 Page 1.0f 18

IN THE UNITED STATES DISTRICT COURT
FOR THE } EASTERN DISTRICT OF PENNSYLVANIA.

 

- . Andrew R. Perrong
1657 The Fairway #131 - wD
Jenkintown, PA 19046 - - ee

Plaintft BAe

: Support Ameean Leds. PAC So ce | 7 Solvn ss Muh Lhe
160IBIms. | JURY TRIAL DEMANDED

. Matthew Tunstall -

_ 801.8. Olive St. #2912
- Los Angeles CA 90014;
and Mo

: Campaign to Support the President PAC es
PO Box 26141 . - Peet
Alexandria, VA 22313.

"Defendants, - a oO

 

 

 

COMPLAINT

- Preliminary Statement ey

- : 1. “The aftermath of the 2020 presidential election sparked intense emotions in

ee Americans across the political spectrum, For tthe Defendants, it Lrepresented an opportunity to. . oe

fraudulently play off those ¢ emotions for their own n pecuniary benefit Indeed, a recent CNN a

- article detailed the: intricacies of Defendants fraudulent conduct complained of herein, See .

os Andrew Kaczynak & Em Steck, Porsches, Gucci Rings and Billion of Robocalls: Inside fhe. ae | . oS One

. PAC Oper ation. nT hat ‘Raised Millions by Impersonating Donald Trump, CNN aly. 15, 2021), a

tts: Jiveww enn, con/2021/07/ /sipoltieslie pac rumprobocal -operation/index itm.
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; 2. | "Seizing off President Trump’ s allegations that the election was stolen, in
| “November: of 2020, the Defendants blasted millions of. pre- “recorded srobocalls” to individuals, a :

. including at leas three such calls to the Plain seoking donations for the “Campaign to a

 

Support the. President” in an n effort to keep the “Demoer ats and Radical Left” from m stealing the a we

: election, Such calls also used sound clips of President ump to falsely imply a a connection with ; oo

Ma the e Trump Campaign.

Be a > Plaintiff Andrew R Perong 6 (Pins, brings tis action p under the Telephone yes

a Consumer Protection Act (TCPA”, 47 U. . c. r 227, a federal s statute enacted i in nresponse to 2 . / -

widespread public outrage a about the pr oliferation of intrusive, nuisance e calling practices See woe

a Mims v. Arrow Fin, Ser VS.3 LLG, 132 s. Ct 740, 745 $2012).

t - 4. : “The Plain never consented tor receive : such calls, which were re placed to

Plaintis? s telephone. number for which he is char srg fe for the calls.
: i a
5... Plaintiff Andrew R. Perrong is a Pennsylvania resident, and.a resident ofthis
a District.
on 6. - : "Defendant Suppor American Leaders I PAC, and its atereg0 P. PAG, ‘the Campaign o

- to Support ihe President PAC, are e federal Political Action Committees, The address recorded a

OO with, the Federal Election Commission for the Support A American n Leaders PACi is 1601 Elm St.

 

oo Dallas, 1X 75201, and thea address recorded with the FEC for the Campaign to Support the.
a President PACi is PO Box 26141, Alexanetia VA223 13. |

: ° 7 “Defendant Matthew Tunstall is the chief benef and ¢ owner of the two PACS,

Acconing to FEC C records Tunstall represen a  arge portion of the PACS" distributions, totaling - ea
Case 2:21-cv-03263-BMS Document 1 Filed 07/21/21 Page 3 of 18 :

upward of three- -quarter of a ‘million dollars, Upon information and beliet Tunstall resides at

ve : 801 S, Olive St #2912, Los Angeles, CA . 90014,

| | : 8. : 5 the Defendants engaged in scaling stivity into t this Diss, as they did with nine me
a -Plaintift. ns | | ane | a
: Jurisdiction & Venue
- o | “The Cour has sede question sbjet ma matter jisiton over the these TCPA - : . "

- a : claims Mims v, , Arrow Fin Ser vices, , LLC, 132 S. Ct. 740 2012).

 

- : 10. “Venue i is s proper "pursuant to 28 u, . c. 8 1391(6)@) because a substantial part of - o -

: the events or: omissions giving rise to the claim ocourred i in this District as ‘the automated calls to we ee :

. the Plaintitt was a placed into this District.

‘The Telephone Consumer Protection Act | |
- ul - In 1991, » Congress enacted the TCPA to > regulate the explosive growth of the
automated calling nds. In SO doing, Congress recognized that “[ulnrestricted telemarketing - :
cat be an an ntsive invasion of privacy LP Telephone Consumer Protection Act of 1991, Pub.

o L. No. 102-243, § 26) (1990 (oti at 47 U. S. C, $220).

neo The TCPA Prohibits all Automated Calls To Pr rotected Numbers - . oo

- Ae . 2 “The TCPA makes it ‘unlavvfal “to make any cal (other than a call made for

oa emergency purposes or r made with they prior express consent of the called 3 pay) using an :

te automatic telephone cialing system or an artifical or 1 prereconted v voice. «to any telephone

 

: number assigned tc to a paging s service, cellular lephone service, specialized mobile radio service,

: or other radio common carrier r service, or any service efor which the called party is 5 char rged for the ny . a a

call. ” ‘See 4] U, . Cc. 8 Zancai.
 

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on 13. - Congr ess. singled out these s services for special protection ether because Congress . -
ae realized their special importance i in n terms of consumer privacy and therefore = protected them (as Coe
in the ¢ case e of cellular hones) or because the numbers a are cassigned to services, like Mr.

} f Perrong s VoIP s service, for which the called arty is chat pod thus sifting the cost of automated |

 

a or prerecorded telephone calls onto consumers. See Barr v, Am, Ass n of Pol Consultants Inc, eee

=: “140 S. fer 2335, 2363, 2020) (Gore J & Thomas, 4, concurring in n pert and dissenting i in ioe

| : | part).

a a “According to > findings by the Federal Communication Commission CFCC”), the a we

agency Congress vested with authority to i issue regulations implementing the TCPA, such calls
are prohibited because as s Congress found, automated or prerecorded telephone calls ate a |
‘proater: nuisance and invasion of privacy than live calls, and such calls can be costly and
/ inconvenient. | | - | |
| Z 15, “The TCPA provides a private cause 0 of action to rm receive calls 1 in
- violation of 47 U. s. C, 8 22100, 1)(A) See 47 U, 8. C. § 2270018). a
Sos : 16... | This c cause of action applies to users of any one of the nies protected services a .
- - (ages cal specialized mobile radio li. e. radiotlephony locator beacon or dispatch o |
7 systems], or another radio common cartier service i e. ship-to- -shore¢ or ait-to- round), or any ee :
serviee, including resident yale and landline se services, for which the called party is charged

. for the call. See Perr ong Y, Victor ry 4 Phones LLC, No. 20- $317 ED D, Pa, say! 1s, 2021).

* ‘The National Do Not Call Regist y : ae

- : 0. a “The National Do Not 3 Call 1 Regist allows. consumers to register theit telephone : are

numbers and thereby indicate their desire not to receive ¢ telephone solicitations at those numbers. 7

oe ‘See 47 CER. § 64.1200(¢)(2). ee
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on 18. A isting on the Registy “must teh honor ed indefinitely, or ‘until the registration is
cancelled by thee consumet or the telephone number is removed byt the database administ ator.”

ory “49, “The TCPA and implementing regulation probit the initiation of telephone

a solicitations to residential telephone subscribers whose numbers are. on the Registry and provides : ° - ; oe

 

- . : a privat right ofa action agains any entity that makes those cals, or “on whose behalf” such calls oo :

a are promote. 47 u, s. C. 8 2210018) ar Cc F. R, 5 64, 1200002).

os Attias | . |
| 20, | "Defendant PACS are S0- ocalled s scam 1 PACS, a ac that “exists primarily to. raise ou
Le: money th that i is : then paid to the PAC’s own operator rather than to engage in bonafide political
. | activity. ” "See Kaczpnst. & , Steck, supra. : | ae :
ie al. ; Defendants’ business model opet ates by plcing miltions of robocalls to.
individuals thr roughout the United States using Tromp’ $ voice cand falsely playing o off “am 8 : |

. good name to solicit donations, These donations are then distributed from the PACS to Tunstall

and telemarketing vendors to allow them to pet petuate their operation, including by paying s for o .

. more robocalls See id,
~ : 0 Defendants rely 0 on n this cycle of automated robocalls to perpetuate their

a telemarketing operation and the scam n PACi itself which exists primar ally for Defendant Tunstall’

| Se benefit, In fact, only $1, 500, just 0 05% of the money collected by, the PACS, iret supported : seis SLE

oo “a bona fi de political candidate Representative J efferson Van Drew of New Jersey. Not: a single

 

oe ‘pemy of the funds collected by the PACS dizetly supported President rump or his campaign, - oS

cee In fact, the Trump campaign has publicly disavowed the PACs. See id, - BES a ae
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{ : : 23. | _ Defendant Tunstall used litle if'ar any, of the. money to o benefit bona fic de politcal
oe causes, Rather, he used then money to fund a lavish Playboy lifestyle which includes a juxury

7 apartment i in Los Angeles, a Porsche | Panamera, , Gucci rings, designer clothing and partying with

a “models See id

2 & Number, | : : | ley

 

2 S 4. ~ Upon information and belies none of the Defendants are registered as as :

: eh va te Avene Ga of remnsylvania. * . | eS
- “The Calls to Me, Perong, ew oe -

ae _Plaintift Perrone: isa‘ “per son” “as defined by 4 47 U. S, C. § 15369).

a 26, Plainti? s lepine number is is@19) 947-XXXX (the “Number”.
4 . / a7. | "The Number is assigned toa 1 Voice over r Inter net Protocol (VoIP) telephone
service, which allows for v voice calls ts to be placed over a broadband Intemet connection.

: ; 28, ) “The Number is not associated with any bosnes. _
S : 29. “The Plainit register ed the Number on both tne Federal and Pennsylvania State, es
Do-Not- ‘Call registies, was on such registries for more than thinty- one : days prior to the cals, and - |
5 never removed th the number from these registtes, | ee | | | | |
. : : 30, | ; “That Number, which is assigned toa VolP telephone serviee is charged for. cach . :

cal it receives, . ~

 

 

oe 3h -Thes service charges a ring charge of $0. 005. for the p provision of Caller ID Name . s - Es

oe - lookup information for each cal placed to the Number, even if the cal is not answered.,
i 32. The: service also chat ges a per-minute charge o of $0, 004 pet minute for voice 7

- chat ges for each minute of talk time, including voicemail time, fo each cal placed to the Oo
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o 233.8 _ The Number is therefore ‘assigned toa. : service efor which the called party is 5

oe . char ged for the call” and any cals placed to that number are c subject: to the restrictions es

oe enumerated in 47 U, S. c. § DINYAKANGD.

: 34 “On November ll, 2020 at 7: 13 PM, ‘the Plaintiff received a pre: -recored call from. a ;: 7

AS the Defendants with the calle D 1ST 160. 7492.

 

. 35. | “The cal began with, a recorded message stating “This is the Campaign to Support “ St a |

as the Psd iho your urgent Trump phone cal.” ” eS we ve
= : 36. | The call continued with a soning of President Trump, “TL 'm Donald Trump. -
: This. his i is ther most 3 important slson we we ve ever 1 had. We have to win this clestion.” : |
| 37, : | The or inal voice actor then continued on the recording: |
- The | Democrats and Radical Left a are trying to steal this election and elie Trump
needs your emergency support right now. With no time to waste and results coming in by

- the minute, do your part to help the campaign until the very end by pressing three right
now to contribute to elect President Trump. To record your emergency contribution to -

help President Trump win this election, press three now. Again, press. three now to.donate -

to defeat Joe Biden and elect President Trump.. That’s three on your keypad : to elect

~ President Trump now. Press seven to unsubscribe. Paid for by Campaign to Support the

>. President, Not authorized, by any, candidate or r candidate’ s committee. Support Trump.
Rr ieeana diode BA a7 re

o 38. : ina an effort to ascertain the identity of the caller, as the Plaintiff A seriously doubted 7 |
that) President Trump would engage in or ratify such illegal telemarketing conduct, the Plaintiff
- pressed three When he spoke to. the c representative that answered, the representative stated that

- | he was calling from the Suppor American Leaders PAC, not tthe Campaign to Support the “

oe “President.

 

- 7 39. | Subsequently, the Plaintiff made a $20 payment toa ascer tain the caller’ s identity

. based 0 on this conflicting information. ‘The credit card charge appeared on »Plaintitt s rect card

a ws “SAL*TRUMP SUPPORT S6DALLAS ox” and the merchant address appeared as 1601 Elm eee
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S St. B33 Dall, TX 7520. Th merehan comer The merchant ae
emai address v was = pemiummeisiam@gmai com. | . ms eee

ae 40. | Based on n these assertions it is alleged that both PACS ¢ are e alter 7 gas sof f each -
S ah “After this s preliminary call, the Plaintf requested in » waiting, that Defendants a ah

oa: place him on n their Do-Not-Call list and provide him: a copy of thet Do-Not- Call policy.

 

os Defendant Tunstall personally responded confirming that Plaintiff was s added to the Defendants? oe : . -

. 2 Do-Not-Call list but neglected to provide the Plaintiff a copy. of their DoNot- Call policy.
a 22. _ Nevertheless, the calls continued. On at least November 19, 2020 at 3:28 PM and - :

November 24, 2020 at 2: 46 PM, the Plaintif received almost identical al prerecorded telephone oe

- a calls from the Defendants, -

43. S Both telephone sal also included recording of President Trump,
| a4 Both telephone calls came from the Caller ID. 215- 330- 4639.
: 45, - "Because Plaintiff asked to be 3 placed on Defendants’ Do-Not- Call list and was not,
: it is evident that. Defendants do not maintain such a list. Likewise based on n this f fact. and the fact
: “that th they did not produce one ‘when rn foquste it is s clear that Defendants do ne not ave any Do-
“Not Call policies or procedures in place Based on, the nature of their illegal activities,
. Defendants *noncompliange with the law in this se is unsurprising, | :
; | 46. : | In addition tou utilizing artificial or prerecorded voices, all Lealls were a also placed .
“usinga an Automatic Telephone Dialing System CATDS?), As the Supreme Court rventy
: clatified, the key. feature of an n ATDS i is the capacity tos store. numbers to be called using a

on random 0 or r sequential number generator o or 10 produce numbers to » be called using a random ¢ or

ue - suet number generator. Facebook Tne. ¥. Duguid, 141 s. ce 1163, 1167 oan,

 
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es 47. 5 ‘The system Defendants used to place the calls to > Plaintif s is an ATDS because it ae - |

would bei incongruous to store numbers or rode numbers in a pre- -recorded calling campaign, os

‘other than randomly or sequentially, s such é as sbya a human dialing the e number manually and then Bs

Li! playing | the called pay a recorded message, Shea

os : 3 48, - Similarly, ihe fact that the calls were e not at tall personalized, asked the Plaintitt to : : 5S ee

oe press three to speak with s someone, and. came. eat random dates and times further supports the -

oO “inference that the Defendants used an ATDS, such as one e which uses] a random [or sequential] Ces

- number generator to semi the order in 1 which to ok phone numbers fo om a preproduced
STs? Ad aT | Loe oe S - a | : |
49, j "The Plaintiff is ignorant of the exact process by which the system used by the.

| Det operates other than drawing the reasonable inference sand raking the allegation that,
it stores or produces telephone numbers randomly or sesuentily based. on the facts |
ascertainable from the calls he recived as as outlined above. Indeed, as at least o one district court

. explained, “The newly clarified definition ofa an VATDS | is more. relevant to a summary y judgment .

motion than at the pleading stage. Gr Oss ¥. GG Homes, Ine. No. 3: 21- -CV- .00271-DMS-BGS,

oe 2021 WL 2863623, at "7 G. D. Cal sly 8, 2021); accord Miles v. Medieredt Ine, No. 4: 20- “CV- -
\ ol 01186. IAR, 2021 WL 2949565 SED, Mo. July, 14, 2020).

: - 50. The Paintin never provided his consent « or requested these calls. 2 : _
2 oS 7 s1 | 7 “The Plain was charged $0. 043 for the calls 7 - vs

. “ 52. ‘The communications received by Pleimift demons that the me messages es were : :

- ‘seat for the p Purpose ofa encouraging the : purchase or rental of or r investment in, property, goods,

- or services as it seeks to have him invest in Defendants’ scam PAC oper ation and Defendant

Lee Tw Tunstall’s Playboy lifestyle, Upon it information and belief none eof Fthe funds which Plains

 
 

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provided the Defendants dir ectly went to bona fi de political causes. ‘The messages 1! therefore os
: qualified. as felemarketng ‘See 47 or F. R. § 64. 1200(8)(12).
- 53, Mr Tunstall made t the eutomated calls for the PACs. He either physialy m8 west MEN

. : programme thy the a automatic dialer to dial them ¢ or instructed others to do the same.

eee 54. "Plaintiff was harmed by these cals He was 2s temporarily deprived of legitimate |

- use ¢ of his phone because his phone line was tied up p during the automated calls and his privacy

| . was s improperly invaded. ‘The Plant was s char sarge f for the als, Moreover, these. calls injured

Plaintiff because they were efustrating obnoxious, annoying, were a nuisance and disturbed the ey

- 7 - solitude 0 of Plaintiff a

: Lesa Claims . - -

co . me “Count One: =: co
Violation of the TCPA’s Prohibition Against Calling Numbers for Which the Called Party is
ne “Charged: with an Artificial or r Prerecorded Voice :

o SS. . ‘By placing at least three calls to. the Plaintiff using both an ATDS and with an

a avtificial or prerecorded | voice, , Defendants jointly and severally, violated 47 U.S.C.

- 8 Dan OXIKANGH.

- 56, “This amounts to six x violations since c Defendants committed two violations per

ne 7 ‘call, The frst violation 1s using an Ar DS. to cal a number fo which the called patty is char reed

a for the call 47 U. 8. C. § 22ACOCLAHD. ‘The second violation is by using an’ ‘artificial or - oe

os prerecorded voice” to call a number for which the called party is ‘chat ged for the call Td

oe the TCPA, 47 US. C. 7 2010 by making calls, xeon for emergency purposes, to the c telephone ce ren

. 57. a “The 3 foregoing @ acts and omissions of Defendants andlor thein afliliates, agents,

oo and/or other persons or entities ting on n Defendants behalf constitute at least six violations of

10,

 

 
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- line of Plaintitt using an n atfcil « or r prerecorded voice e and through the initiation 1 of calls using

moe a an nATDS to a a number for which the called party is charged for the calls os .

| oe : 38 OAS: a result of Defendants andlor their affiliates, agents, andlor other persons or . 7

. “entities acting on n thei behalts violations of the 1 TOPA, 47 U, s. c. § 22710), Plain i is entitled. .

os 08 an award of $500 in n damages for each and every y violation and call made. to > his telephone i line : a

a : which used an n artificial or prerecorded voice -and which was initiated using. an ATDS to his

ne “number, which is. charged f for the cals, in violation oft thes statute, > Purst suant to 47 U. s. c.

Bo 8 22700,)B)-

Lo . 59, | Plant is also entitled to and does seek injunctive relief pt ohibiting Defendants nad “

- and/or their afiliates, agents andlor other pers sons or entities s acting on their behalf from

/ / “violating these provisions in 47 U. . Cc, 8 22109; in the future, | . : |

. . . 60. The Defendants’ violations were e knowing and/or willful Accordingly, the .

: Plaintiff seeks upt to treble damage of the $500 per violation award as provided in 47 U. S.C, §
| BIO). as a

Des ree ~ Count Two: : : :
oe Violation of the Pennsylvania Telemarketer Registration Act

B Pa, . Cons. Stat. + $2241,

oS : 61. “By placing at least three ¢ telemarketing calls to the Plaintiff without registering as

; * t telemarketers under Pennsylvania law, Defendants jointly and severally, violated 73 Pa, Cons. .

cay : ‘Stat § 2243, Moreover by ling to identity themselves i in the messages Defendants, jointly and ws |

o severally, violated 7 Pa, Cons, ‘Stat § 2245, 1,

aan 62. This constitutes three violations of the Pennsylvania Unfair Trade Practices and.

co Consumer Protection Law. B Pa, Cons. Stat. 4224660).

 
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63. The foregoing acts sand omissions s of Defendants and/or thei alites, agents, .

a = and/or other persons or r entities acting on n Defendants! ‘behalf constitute 1 numerous sand maliple

 

 

: violations of the Pennsylvania Telemarketer Registration At erRa, B Pa, Cons. Stat. §2 2241, . : — Se

 

| . including by making cals to PlaintifPs number, on the Pennsylvania Do-Not-Call rewistry, a: ee

- without registration, 2 : mee eS

64 “As a result of Defendants’ andlor theit affiliates, agents, andlor other persons: or “

ne : entities acting on a thei behal? S ‘violation of the PIRA, 2B Pa. Cons. Stat. § 224, Plaintiff is is Be

; “entitled to: an award of $300 in : damages for each and every call I made to his telephone number in we

a violation of the statute, pursuant to the Pennsylvania Unter Trade Practices and Consumer

oS b: Protection Law, B Pa, Cons. Stat, 201 See 7 Pa. Cons Stat $2460).

. : 65, _ Plaintiffs is also entitled to and does seek injunetive relief prohibiting Defendants . / a)
and/or their afiliates, agents, andlor other persons ¢ or entities acting 0 on n thei behalf from
violating the PTRA i in. the future. : : a ms

“Count Three:

Violation of the TCPA’s Implementing Regulations Le :
Codified at 47 C, F, R. 8 64. 1200

a ue 66, By placing at least th ee telemarketing calls to >the Plaintt whose number ison . a : ats

- ° the Do-Not- Call registry, falling to >have a written Do-Not-Call policy, and failing tc to maintain the . nore

file Plaintiff on n their Do-Not-Call list, Defendants, ,joitly and severally, violated 47 U, 8. c. §

- 208) oy violating the implementing regulations codified in 47 C. F R, 8 64, 4.120040) and a).

: 67. This amounts tor nine violations since e Defendants committed three violations per -

. : , ‘al, The first violation is calling a number on the national Do-Not-Call regis. 47 c. F, R §.

 

fe a 6 64. 1200(012). The second violation is sby calling Plein without having a Do-Not-Call policy
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; a in nplace, a7 C. F. R. 8 64, 120008). The third violation i is by calling Plaintft without 7

oo : "maintaining the Plaintiff 0 on their internal Do-Not. Call list. 47 C. , R 3 64, 1200(6(6)..

 

| 68. “The foregoing acts sand 0 omissions of Defendants andlor their aliiates, agents,

 

| and/or other persons or entities acting on Defendants behalf constitute at 3 heat nine : violations of an 7

- = the TOPA, a7 UL S. C. § 22110, codified al 47 c, F, R. $6 64, 1200, by) inter alia, refusing to serub
: “aginst the National Do-Not-Call registry, refusing to maintain Mr, Perong’ s number ¢ on an, . a : 5
7 os internal Do-Not-Call ist, and failing to have. a | Do-Not-Call poly.

- 0, : S As a result of Defendants ‘and/or ther affiliates, agents, and/or other persons or.

: entitles acting on n theit behalf s violations of the TCPA, 4 v. S. C. § 22116), Plaintiff is entitled: to, - a

me an ava of $500 in damages for each and evely. call and violation made to his s telephone number
in violation of the CPA's implementing regulations codified at 47 c. F, R. $e 64. 1200, pursuant
‘tod 47 v. S.C. § 22e)(5)B)..
oS 70. | "Plaintiff is also ne to and does seek injunctive re relief prohibiting Defendants . -
- ; and/or bie a afiliates, agents, andlor other peoans cates astng on their behalf from
. : : ‘violating the TPA, U, s C. § 210), by making calls j in violation of any of the TCPA’s
implementing regulations in athe future. ve . ts
| . | Th "The Defendants iictions were lowing and/or wf Accordingly the,
| Plaintiff s socks up to treble damages of the $500 per Violation award as provided in in 47 U, S. C. . |
o 2B). Corn ips, oe 2 ae
oe oy : Relief Sought
| 7 . \WHEREFO ORE, Plain requests the following relief:
was . aS a On njunetive x relief f prohibiting oan from calling telephone numbers

- using an. » ATDS, making call using an artificial or prerecorded voice, and/or in violation of the oe

1B
 

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PTRA, and/or in violation of the TCPA’s implementing regulations.

b. Because of Defendants’ violations of the TCPA’s restrictions in 47 U.S.C,
§ 227(b), Plaintiff Perrong seeks for himself $500 in damages for each violation or—where such
regulations were willfully or knowingly violated—up to $1,500 per violation, pursuant to 47
U.S.C. § 227(b)(3).

c. Because of Defendants’ violations of the PTRA, Plaintiff Perrong seeks
for himself $300 in damages for each violation, pursuant to 73 Pa. Cons. Stat. § 201-9.2(a).

d. Because of Defendants’ violations of the TCPA’s implementing
regulations, Plaintiff Perrong seeks for himself $500 in damages for each violation or—where
such regulations were willfully or knowingly violated—up to $1,500 per violation, pursuant to
47 U.S.C. § 227(c)(5).

& Such other relief as the Court deems just and proper.

Plaintiff requests a jury trial as to all claims of the complaint so triable.

Dated: July 16, 2021

LAA

Andrew R. Perrong
Plaintiff Pro-Se

1657 The Fairway #131
Jenkintown, PA 19046
Phone: 215-791-6957
Facsimile: 888-329-0305
andyperrong@gmail.com

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

ANDREW R. PERRONG SUPPORT AMERICAN LEADERS PAC
1657 THE FAIRWAY #131, JENKINTOWN, PA 19046 1601 ELM ST. DALLAS, TX 75201
(b) County of Residence of First Listed Plaintiff MONTGOMERY County of Residence of First Listed Defendant DALLAS
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

JS 44 (Rev. 04/21)

 

NOTE:

(c) Attorneys (Firm Name, Adtdress, and Telephone Number) Attorneys ([f Known)

ANDREW R. PERRONG (PRO SE)
1657 THE FAIRWAY #131, JENKINTOWN, PA 19046

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an "x" in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plainifl
(For Diversity Cases Only) and One Box for Defendant)
(] | U.S. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C) 1 CJ 1 Incorporated or Principal Place C] 4 (]4
of Business In This State
[_]2 U.S. Government []4_ Diversity Citizen of Another State []2 [] 2 Incorporated and Principal Place [[] 5 [_]5
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject ofa | 3 (al 3 Foreign Nation C] 6 LC] 6
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions,
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | |625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729%a))
140 Negotiable Instrument Liability {_] 367 Health Care/ INTELLECTUAL |_] 400 State Reapportionment
[_] 150 Recovery of Overpayment [7] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS | | 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
IL, 152 Recovery of Defaulted Liability {_] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
L_] 160 Stockholders’ Suits 355 Motor Vehicle | 371 Truth in Lending Act X| 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal |_]720 Labor/Management SOCIAL SECURITY. Protection Act

 

195 Contract Product Liability | 360 Other Personal Relations 490 Cable/Sat TV

196 Franchise

Property Damage 861 HIA (1395ff)

rl

Injury
| 362 Personal Injury -

CO 385 Property Damage
Product Liability

 

740 Railway Labor Act
751 Family and Medical

 

 

| 446 Aimer. w/Disabilities -
Other
ail 448 Education

 

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of

 

Confinement

862 Black Lung (923)
863 DIWC/DIWW (405(g))

ee}

 

 

 

 

 

465 Other Immigration
Actions

 

 

i)

 

850 Securities/Commodities/
Exchange

Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation |[_] 865 RSI (405(g)) |_| 891 Agricultural Acts
|_| 210 Land Condemnation Bi 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement | | 893 Environmental Matters
L_] 220 Foreclosure B 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectinent 4 442 Employment 510 Motions to Vacate t | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations Hl 530 General l | 871 IRS—Third Party 899 Administrative Procedure
[| 290 All Other Real Property Bl 445 Amer. w/Disabilities - [ | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision

950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original 2 Removed from [-] 3 Remanded from []4 Reinstated or [7] 5 Transferred from = [7] 6 Multidistrict []8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
TELEPHONE CONSUMER PROTECTION ACT, 47 USC 227; 47 CFR 64.1200

Brief description of cause:
DEFENDANTS CALLED PLAINTIFF IN VIOLATION OF THE TCPA

 

VIL. REQUESTED IN

COMPLAINT:

(] CHECK IF THIS

1S A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

DEMAND $
23,400

CHECK YES only if demanded in complaint:

JURY DEMAND:

DOCKET NUMBER

 

[x]¥es []No

 

DATE
07/16/2021
FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

SIGNATURE OF ATTORNEY OF. RE Sg ec

APPLYING IFP

JUDGE

MAG. JUDGE
 

Case 2:21-cv-03263-BMS Document1 Filed 07/21/21 Page 16 of 18

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

ANDREW R. PERRONG : CIVIL ACTION
vy,

SUPPORT AMERICAN LEADERS PAC NO

et al.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
(f) Standard Management — Cases that do not fall into any one of the other tracks. ((¥))
07/16/2021 Andrew R. Perrong PLAINTIFF PRO SE
Date ; Attorney-atlew W/a n/t Pose Attorney for
215-791-6957 888-329-0305 ANDYPERRONG@GMAIL.COM
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:21-cv-03263-BMS Document 1 Filed 07/21/21 Page 17 of 18
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

ee 1657 THE FAIRWAY #131, JENKINTOWN, PA 19046

 

Address of Defendant: 1601 ELM ST. DALLAS, TX 75201

 

BY TELEPHPONE CALL TO MY PRIVATE TELEPHONE

Place of Accident, Incident or Transaction:

 

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No
previously terminated action in this court?

2, Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [|] No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No

case filed by the same individual?

I certify that, to my knowledge, the within case Dis / B is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

pare, 07/16/2021 Ou (Kum PRO SE

Attoy eran / Pro Se Plaintiff Attorney LD. # (if applicable)

 

 

 

CIVIL: (Place a ¥ in one category only)
A Federal Question Cases: B, Diversity Jurisdiction Cases:
(J 1. Indemnity Contract, Marine Contract, and All Other Contracts {] 1. Insurance Contract and Other Contracts
[] 2, FELA [] 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury LJ] 3. Assault, Defamation
L] 4. Antitrust L] 4. Marine Personal Injury
CL] 5. Patent L] 5. Motor Vehicle Personal Injury
L] 6. Labor-Management Relations [] 6. Other Personal Injury (Please specify):
CL) 7. Civil Rights L] 7. Products Liability
(J 8. Habeas Corpus (1 #8. Products Liability — Asbestos
H 9. Securities Act(s) Cases [] 9. All other Diversity Cases
10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify): TELEPHONE CONSUMER PROTECTION

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

, ANDREW R. PERRONG

, counsel of record or pro se plaintiff, do hereby certify:

 

fe Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.
pate, 97/16/2021 ODE K.-\ —_—_ PRO SE

 

 

Attorpoyet-Laww / Pro Se Plaintiff Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

 

 

Civ, 609 (5/2018)

 
   
 

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Case 2:21-cv-03263-BMS Document1 Filed 07/21/21 Page 18 of 18

 

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1657 The Fairway #131
Jenkintown PA 19046-1423 |

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